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                       IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF OREGON



MICHELLE HUME,                                        Case No. 3:21-cv-517-SI

               Plaintiff,
                                                    ORDER
       v.

GUARDIAN MANAGEMENT LLC,
UPTOWN TOWER APARTMENTS, and
LISA SIMONSON,

               Defendants.


Michael H. Simon, District Judge.

       Plaintiff Michelle Hume (Hume) brought this lawsuit against Defendants Guardian

Management LLC (Guardian), Uptown Tower Apartments, and Lisa Simonson (collectively,

Defendants) for alleged violations of the Fair Housing Act (FHA), 42 U.S.C. § 3604(f). Hume

contended that Defendants discriminated against her because of her disability by failing to

provide her with an accessible parking space and unreasonably delayed in accommodating her.

The Court granted Defendants’ motion for summary judgment.

       Before the Court are several motions from both parties. Hume, now proceeding pro se,

moves for reconsideration of the Court’s summary judgment opinion under Rule 60 of the

Federal Rules of Civil Procedure, or in the alternative, for appointment of counsel and a stay of

appeal pending that appointment of counsel.1 Defendants move for attorney’s fees. ECF 47. For


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          The Court interprets Hume’s alternative motion as a motion for an extension of time to
file a notice of appeal, as discussed below. Hume also moves in the alternative for summary
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the reasons discussed below, the Court grants in part Hume’s motion for reconsideration, vacates

its Judgment, and issues an Amended Opinion and Order granting in part Defendants’ motion for

summary judgment. The Court denies Defendants’ motion for attorneys’ fees as moot.

A. Plaintiff’s Motion for Reconsideration

       Hume requests reconsideration of the Court’s summary judgment opinion because

Hume’s counsel purportedly failed to present the Court with accurate facts and evidence in

opposition to summary judgment, and opposing counsel and Defendants purportedly submitted

false and misleading information to the Court in support of summary judgment. Hume list

numerous facts, but most of them were already included in the summary judgement record. The

new facts are not appropriate to consider on reconsideration because they could have been raised

at summary judgment, and, regardless, are not material.

       Rule 60(b) of the Federal Rules of Civil Procedure governs reconsideration of “a final

judgment, order, or proceeding” of the district court. The rule allows a district court to relieve a

party from a final judgment, order, or proceeding for the following reasons: “(1) mistake,

inadvertence, surprise, or excusable neglect; (2) newly discovered evidence . . . ; (3) fraud . . . by

an opposing party; (4) the judgment is void; (5) the judgment has been satisfied . . . or (6) any

other reason that justifies relief.” Fed. R. Civ. P. 60(b). Reconsideration is an “extraordinary

remedy, to be used sparingly in the interests of finality and conservation of judicial resources.”

Kona Enters., Inc. v. Estate of Bishop, 229 F.3d 877, 890 (9th Cir. 2020) (cleaned up); see also

Shalit v. Coppe, 182 F.3d 1124, 1132 (9th Cir. 1999) (noting that “reconsideration is appropriate

only in very limited circumstances”). The party making the Rule 60(b) motion bears “the burden


judgment, which the Court denies because, although the Court grants in part Hume’s motion for
reconsideration, the Court is not relying on any new evidence and Hume’s underlying argument
at summary judgment only raises a genuine issue of fact for the jury to decide.

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of proving that they have met the Rule’s requirements.” Jeff D. v. Otter, 643 F.3d 278, 283 (9th

Cir. 2011).

       Hume mentions “legal malpractice as excusable neglect” and “fraud upon the court” in

addition to her personal illness and disabilities as grounds for reconsideration under Rule 60(b).

Her personal illness and disabilities are not appropriate grounds for reconsideration, particularly

when she was represented by counsel. Excusable neglect “covers cases of negligence,

carelessness, and inadvertent mistake.” Bateman v. U.S. Postal Serv., 231 F.3d 1220, 1224 (9th

Cir. 2000). “As a general rule, parties are bound by the actions of their lawyers, and alleged

attorney malpractice does not usually provide a basis to set aside a judgment pursuant to

Rule 60(b)(1).” Casey v. Albertson's Inc., 362 F.3d 1254, 1260 (9th Cir. 2004); see also Latshaw

v. Trainer Wortham & Co. Inc., 452 F.3d 1097, 1101 (9th Cir. 2006) (“Rule 60(b)(1) is not

intended to remedy the effects of a litigation decision that a party later comes to regret through

subsequently-gained knowledge that corrects the erroneous legal advice of counsel. . . . [P]arties

should be bound by and accountable for the deliberate actions of themselves and their chosen

counsel. This includes not only an innocent, albeit careless or negligent, attorney mistake, but

also intentional attorney misconduct. Such mistakes are more appropriately addressed through

malpractice claims.”); Allmerica Fin. Life Ins. and Annuity Co. v. Llewellyn, 139 F.3d 664, 665-

66 (9th Cir. 1997) (“[A]ttorney error is insufficient grounds for relief under . . . Rule 60(b)(1).”).

Thus, Hume’s contentions that her attorney was negligent or provided substandard representation

are not grounds for reconsideration under Rule 60(b)(1).

       Insofar as Hume moves for reconsideration under Rule 60(b)(3), fraud by an opposing

party, the Court does not find that Hume has satisfied her burden to “prove by clear and

convincing evidence that the verdict was obtained through fraud, misrepresentation, or other



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misconduct and the conduct complained of prevented the losing party from fully and fairly

presenting the defense.” Casey, 362 F.3d at 1260 (rejecting plaintiff’s Rule 60(b) motion that

focused on the “alleged inexperience and/or malpractice” of plaintiff’s attorneys). Courts place a

“high burden” on a party seeking relief from judgment based on fraud on the court. Latshaw, 452

F.3d at 1104. “[I]n order to provide grounds for relief, the fraud must involve an unconscionable

plan or scheme which is designed to improperly influence the court in its decision.” Id. Hume

fails to meet this high burden.

       The Court liberally construes Hume’s filing as requesting reconsideration under

Rule 60(b)(6). Generally, Rule 60(b) is not the appropriate vehicle to challenge summary

judgment because of evidence or arguments that were not, but could have been, introduced

beforehand. See, e.g., Coastal Transfer Co. v. Toyota Motor Sales, U.S.A., 833 F.2d 208, 212

(9th Cir. 1987) (“Evidence is not ‘newly discovered’ under [Rule 60(b)(2)] if it was in the

moving party’s possession at the time of trial or could have been discovered with reasonable

diligence.”); In re M/V Peacock, 809 F.2d 1403, 1405 (9th Cir. 1987) (“[Rule 60(b)(3)] is aimed

at judgments which were unfairly obtained, not at those which are factually incorrect.”); see also

James v. United States¸603 F. Supp. 2d 472, 482 (S.D.N.Y. 2009) (“Rule 60(b) is not the proper

vehicle to raise a new allegation of ineffective assistance of counsel.”). All the evidence that

Hume presents now could have been presented at summary judgment. Thus, reconsideration is

denied on these grounds. Regardless, the new factual issues that Hume now raises are not

material to the Court’s basis for granting summary judgment.

       In reviewing the facts submitted at summary judgment by Hume’s counsel in considering

Hume’s motion for reconsideration, however, the Court concludes that the facts set forth in its

Opinion and Order resolving the motion for summary judgment were not fully described in the



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light most favorable to Hume, as the non-moving party. Additionally, the Court drew inferences

in favor of Defendants, instead of in favor of Hume, including that Defendants were not on

notice that Hume needed a parking accommodation because she only used her wheelchair some

of the time. Hume provided evidence that she requested a parking accommodation for years, and

as a result of the improper inferences drawn by the Court, the Court only addressed Hume’s

argument of delay based on the five months from Hume’s formal, written request because that

was when the Court found Defendants were on notice of Hume’s disability and need for an

accommodation. Upon further reflection, the Court concludes that was not a proper application

of the summary judgment standard, based on the facts provided by Hume at summary judgment.

Thus, as explained in the Amended Opinion and Order filed contemporaneously herewith, the

Court finds that there is a genuine issue of fact for the jury to decide as to whether Defendants

unreasonably delayed, and therefore constructively denied, accommodating Hume from the time

of her original request in 2014 through July 2021, when Defendants provided Hume with an

assigned parking spot. The Court declines to reconsider any of its other conclusions in its

summary judgment Opinion and Order.

B. Plaintiff’s Motion for Stay

       Hume requests a “stay of appeal and/or a stay of these proceedings” so that she can file

an appeal. The Court construes this as a motion for an extension of time to file a Notice of

Appeal under Rule 4(a)(5) of the Federal Rules of Appellate Procedure. Because the Court grants

in part Hume’s motion for reconsideration, the Court denies this motion as moot.

C. Plaintiff’s Motion for Appointment of Counsel

       Hume also requests appointment of counsel “to perfect an appeal.” Because the Court

grants in part Hume’s motion for reconsideration and this case will continue before this Court,

Hume will not be proceeding with an appeal at this time. The Court denies Hume’s motion for

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appointment of counsel to perfect an appeal as moot. The Court declines to appoint new counsel

for Hume to proceed with her case before this Court.

D. Motion for Equitable Resolution

       Hume also requests “alternatively equitable remedies.” The Court construes this as a

request that the Court refer this case to a U.S. Magistrate Judge for a judicial settlement

conference. The Court shall do so, so the parties may endeavor to resolve the remaining claim.

E. Defendants’ Motion for Attorney’s Fees

       Defendants move for an award of reasonable attorney’s fees and costs. Because the Court

has granted Hume’s motion for reconsideration in part, the Court denies this motion as moot.

F. Conclusion

       The Court DENIES Defendants’ motion for attorney’s fees, ECF 47. The Court also

GRANTS IN PART AND DENIES IN PART Hume’s motion for reconsideration, ECF 52. The

Court hereby VACATES its Opinion and Order (ECF 45) and Judgment (ECF 46) and issues

contemporaneously herewith an Amended Opinion and Order on Defendants’ motion for

summary judgment. The Court DENIES Hume’s motion for appointment of counsel, summary

judgment, and motion for extension of time to file a notice of appeal, ECF 52. The Court Clerk

will contact the clerks of U.S. Magistrate Judges in an effort to facilitate a judicial settlement

conference.

        IT IS SO ORDERED.

       DATED this 21st day of December, 2022.

                                                       /s/ Michael H. Simon
                                                       Michael H. Simon
                                                       United States District Judge




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